Case 1:21-cv-01317-GBW-SRF Document 258 Filed 07/26/23 Page 1 of 3 PageID #: 9359




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

 SIGHT SCIENCES, INC.,                             )
                                                   )         C. A. No.: 21-1317-GBW-SRF
                Plaintiff,                         )
                                                   )         JURY TRIAL DEMANDED
                             v.                    )
                                                   )
 IVANTIS, INC., ALCON RESEARCH LLC,                )
 ALCON VISION, LLC AND ALCON INC.,                 )
                                                   )
                Defendants.                        )

  JOINT MOTION FOR TELECONFERENCE TO RESOLVE DISCOVERY DISPUTE

         Plaintiff Sight Sciences, Inc. (“Plaintiff”) and Defendants Ivantis, Inc., Alcon Research

  LLC, Alcon Vision, LLC, and Alcon Inc. (“Defendants”) respectfully move this Court to schedule

  a teleconference to address outstanding disputes regarding the following discovery matter:

         1.       Plaintiff’s motion to preclude Defendants from relying on Defendants’ production

  of documents from Catherine Truitt after the close of fact discovery, and to preclude any argument

  or testimony relating to said production.

         The following attorneys, including at least one Delaware Counsel and at least one Lead

  Counsel per party, participated in a verbal meet-and-confer by telephone on July 24, 2023:

  Delaware Counsel:

         •        Melanie Sharp and Taylor E. Hallowell from Young Conaway Stargatt & Taylor
                  LLP on behalf of Plaintiff
         •        Karen Keller from Shaw Keller LLP on behalf of Defendants

  Lead Counsel:

         •        Michelle Rhyu and Lauren Strosnick from Cooley LLP on behalf of Plaintiff
         •        Noah Frank, Brian Verbus, and Emily Sheffield from Kirkland & Ellis on behalf of
                  Defendants

         The parties are available for a teleconference on the following dates: August 1, 3, or 4.




                                                  1
Case 1:21-cv-01317-GBW-SRF Document 258 Filed 07/26/23 Page 2 of 3 PageID #: 9360




 YOUNG CONAWAY STARGATT & TAYLOR, LLP          SHAW KELLER LLP

 /s/ Melanie K. Sharp                          /s/ Karen E. Keller
 ______________________________________        ___________________________________
 Melanie K. Sharp (No. 2501)                   John W. Shaw (No. 3362)
 James L. Higgins (No. 5021)                   Karen E. Keller (No. 4489)
 Taylor E. Hallowell (No. 6815)                Andrew E. Russell (No. 5382)
 1000 North King Street                        Nathan R. Hoeschen (No. 6232)
 Wilmington, DE 19801                          I.M. Pei Building
 (302) 571-6600                                1105 North Market Street, 12th Floor
 msharp@ycst.com                               Wilmington, DE 19801
 jhiggins@ycst.com                             (302) 298-0700
 thallowell@ycst.com                           jshaw@shawkeller.com
                                               kkeller@shawkeller.com
 COOLEY LLP                                    arussell@shawkeller.com
 Michelle S. Rhyu                              nhoeschen@shawkeller.com
 Lauren Strosnick
 Alissa Wood                                   KIRKLAND & ELLIS LLP
 Juan Pablo González                           Gregg LoCascio
 Angela R. Madrigal                            Sean M. McEldowney
 3175 Hanover Street                           Justin Bova
 Palo Alto, CA 94304-1130                      Steven Dirks
 (650) 843-5000                                Socrates L. Boutsikaris
                                               1301 Pennsylvania Avenue, N.W.
 Orion Armon                                   Washington, DC 20004
 1144 15th Street, Suite 2300                  (202) 389-5000
 Denver, CO 80202-2686
 (720) 566-4000                                Jeanne M. Heffernan
                                               Kat Li
 Dustin M. Knight                              Austin C. Teng
 Reston Town Center                            Ryan J. Melde
 11951 Freedom Drive, 14th Floor               401 Congress Avenue
 Reston, VA 20190-5656                         Austin, TX 78701
 (703) 456-8000                                (512) 678-9100

 Bonnie Fletcher Price                         Ryan Kane
 1299 Pennsylvania Avenue, NW                  Nathaniel DeLucia
 Suite 700                                     Laura Zhu
 Washington, DC 20004-2400                     601 Lexington Avenue
 (202) 842-7800                                New York, NY 10022
                                               (212) 446-4800
 Attorneys for Sight Sciences, Inc.
                                               Brian A. Verbus
                                               Jacob Rambeau
                                               300 N. LaSalle
                                               Chicago, IL 60654



                                          2
Case 1:21-cv-01317-GBW-SRF Document 258 Filed 07/26/23 Page 3 of 3 PageID #: 9361




                                               (312) 862-2000

                                               Noah S. Frank
                                               200 Clarendon Street
                                               Boston, MA 02116
                                               (617) 385-7500

                                               Attorneys for Ivantis, Inc., Alcon Research LLC,
 Dated: July 26, 2023                          Alcon Vision, LLC and Alcon Inc.




  30604423.1




                                        3
